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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA


 UNITED STATES OF AMERICA,                               Case No. 10-CR-0339 (PJS/JJK)

                        Plaintiff,

 v.                                                                  ORDER

 CRUZ ROSALES (6),

                        Defendant.

       Jeffrey S. Paulsen, UNITED STATES ATTORNEY’S OFFICE, for plaintiff.

       Michael C. Hager, HAGER LAW OFFICE, for defendant.

       Defendant Cruz Rosales is charged with conspiring to distribute methamphetamine,

cocaine, and marijuana in violation of 21 U.S.C. §§ 846 and 841(b)(1)(A). He is also charged

with aiding and abetting the distribution of methamphetamine in violation of 21 U.S.C.

§ 841(b)(1)(A) and 18 U.S.C. § 2. This matter is before the Court on Rosales’s motion to

suppress evidence obtained as a result of a search of his carry-on bag at the Minneapolis/St. Paul

International Airport on July 31, 2010. Magistrate Judge Jeffrey J. Keyes has held two

evidentiary hearings on the motion and has issued a supplemental Report and Recommendation

(“R&R”) recommending that Rosales’s motion be denied. See Docket No. 330. Rosales objects

to this recommendation. Based on a de novo review, see 28 U.S.C. § 636(b)(1); Fed. R. Crim.

P. 59(b)(3), the Court overrules Rosales’s objection and denies his motion to suppress.

       The background facts leading up to Rosales’s arrival at the airport have already been

described in detail in the Court’s previous order. To summarize, Rosales and defendant

Benjamin Perez were observed delivering drugs and money to defendant Noe Alamos Pantoja,

who was the subject of a long-running narcotics investigation. The surveilling officers followed
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Rosales and Perez to the airport, where they were searched and were each found to be in

possession of large amounts of cash. After an initial evidentiary hearing, Judge Keyes

recommended denying Rosales’s motion to suppress the cash. The Court declined to adopt this

recommendation, however, because it was not clear who searched Rosales, why he was searched,

and where or how the cash was found.1

        At a second evidentiary hearing, the government introduced evidence about the events at

the airport. Judge Keyes thoroughly described that evidence in the supplemental R&R, and the

Court gives only a brief summary here. After arriving at the airport, Rosales and Perez attracted

the attention of agents of the Transportation Security Administration (“TSA”). Based on their

observations, the TSA agents decided to conduct a “secondary screening” of Rosales and Perez.

During the secondary screening, a TSA agent searched Rosales’s bag and found an unsealed,

business-size envelope containing a large amount of cash as well as several vehicle titles and

photographs. Docket No. 329 at 41, 46-47. The agent did not count the cash, but estimated it to

be “easily over $5,000.” Docket No. 329 at 41. Rosales now seeks to suppress evidence of the

cash.

        The government argues that the search of Rosales’s bag was justified as an administrative

search performed for the purpose of ensuring airline security. See United States v. Aukai, 497

F.3d 955, 960 (9th Cir. 2007) (en banc). Many courts have upheld such searches, and Rosales




        1
         The lack of clarity was not the fault of Judge Keyes. As noted in the Court’s initial
order, the lack of clarity appears to have been the result of a misunderstanding between the
government and Rosales about the scope of their dispute.

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does not dispute that the TSA could properly search his bag.2 But Rosales argues that the TSA’s

search of the envelope found in his bag was unconstitutional. Rosales compares this case to

United States v. Kroll, 481 F.2d 884 (8th Cir. 1973), in which the Eighth Circuit found that an

airport search of an envelope found in a briefcase exceeded the scope of the search that was

permissible under the circumstances.

       Recognizing that the facts of this case are almost identical to those in Kroll, the

government does not attempt to distinguish Kroll. Instead, the government emphasizes that the

Kroll court explained that its holding was based on “the present state of the art of miniaturization

of dangerous explosive devices” and acknowledged that it is “entirely conceivable that

miniaturization of explosives of sufficient force to constitute a threat to an aircraft could, in the

future, be developed to a degree” that could lead to a different result. Kroll, 481 F.2d at 887 n.4

(quotations omitted).3 The government argues that the limited holding in Kroll does not control

this case in light of the existence of new technology such as “sheet explosives,” which (as

described by the Ninth Circuit) are “thin, flat explosives [which] may be disguised as a simple

piece of paper or cardboard, and may be hidden in just about anything, including a laptop, book,




       2
        Although Rosales’s objections before this Court seem to dispute the validity of the bag
search, Rosales conceded before Judge Keyes that the search of the bag was lawful. See Docket
No. 325 at 2 (“There was probable cause to open the bag as such inspection is consented to by
the passenger in an administrative search. . . . But probable cause was lacking to open the
envelope.”).
       3
        The Eighth Circuit was quoting language from the district-court opinion, which it
adopted as its own.

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magazine, deck of cards, or packet of photographs.” United States v. McCarty, 648 F.3d 820,

825 (9th Cir. 2011).4

       Although it is a close question — particularly given the lack of detail about the discovery

of the envelope and why the TSA agent looked inside of it — the Court concludes that the search

of the envelope was lawful. “[T]he ultimate touchstone of the Fourth Amendment is

‘reasonableness’ . . . .” Brigham City v. Stuart, 547 U.S. 398, 403 (2006). The government did

not offer direct evidence of the condition of the envelope, but it is reasonable to infer that a

standard, business-size envelope containing thousands of dollars of cash — as well as vehicle

titles and photographs — would be quite bulky. It was thus reasonable for the TSA to take at

least a cursory look in the envelope to confirm that it did not contain sheet explosives.5 In

addition, unlike several recent cases in which courts have held that a TSA agent’s search went

beyond the permissible scope of an airport-screening search, see McCarty, 648 F.3d at 836;

United States v. Fofana, 620 F. Supp. 2d 857, 863-65 (S.D. Ohio 2009), here there is absolutely




       4
         The government also points out that the September 11 hijackers were able to take over a
plane using thin metal box-cutters and that the TSA prohibits other small potential weapons that
could fit in an envelope, such as razor blades. The government fails to note, however, that
before Rosales’s bag was hand searched, it passed through a magnetometer and an x-ray
machine. There is no evidence that anything suspicious was detected by the magnetometer or
the x-ray machine. In the absence of such evidence — or evidence that these screening devices
would be ineffective to uncover the type of weapons cited by the government — the Court
cannot hold that the search of Rosales’s envelope was justified by the need to search for box-
cutters, razor blades, or similar items. United States v. Hughes, 517 F.3d 1013, 1019 (8th Cir.
2008) (government bears the burden of justifying a warrantless search); McCarty, 648 F.3d at
835 (noting that an airport-screening search was “appropriately limited where TSA screeners
escalated the invasiveness of their search after each level of screening produced a reason to
search more closely”).
       5
         That the TSA agent’s search of the envelope was cursory is supported by the fact that he
did not count the cash in the envelope.

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no evidence that the TSA agent’s search was motivated by anything other than legitimate

security concerns. The agent did not know that Rosales was under surveillance or even that

Rosales was suspected of criminal activity; in fact, the agent permitted Rosales to leave with his

cash after the screening procedure was complete. The Court therefore finds that, in light of

changes in technology since Kroll was decided in 1973, the search of the envelope was within

the proper scope of an airport-screening search.

       Finally, Rosales also challenges the seizure of his cash by the Airport Police Department,

which happened after Rosales voluntarily returned to the screening area and was then brought

(along with Perez) to the airport police-operations center.6 Rosales argues that probable cause

for the seizure was lacking and that there was no basis for a warrantless seizure.7 Although the

government contends that there was probable cause, the government does not identify any

justification for the warrantless nature of the seizure. Instead, the government essentially argues

that the legality of the seizure is moot because it does not intend to introduce the cash into




       6
        As recounted in the supplemental R&R, the TSA prefers to keep traveling companions
together when one of them has been referred to law enforcement. After Rosales was permitted to
leave the screening area, a TSA supervisor asked him if he would be willing to return because
Perez was being referred to law enforcement. Docket No. 329 at 55. The supervisor specifically
informed Rosales that he did not have to accompany her. Docket No. 329 at 55. Rosales readily
agreed to return and ultimately agreed to speak with law enforcement. Docket No. 329 at 7, 55.
       7
        Under 18 U.S.C. § 981(b)(2)(B), property subject to forfeiture may be seized without a
warrant if it is seized pursuant to a lawful arrest or search, or if another exception to the Fourth
Amendment warrant requirement applies. Judge Keyes concluded that the exigent-
circumstances exception applied to the seizure of Rosales’s cash, but Judge Keyes did not
analyze the issue because it appeared that Rosales was only disputing whether there was
probable cause for the seizure. In his objections, however, Rosales makes clear that he does not
concede the existence of exigent circumstances. Docket No. 333 at 5.

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evidence at trial. Taking the government at its word, the Court will deny Rosales’s motion to

suppress evidence of the seizure as moot.8

                                             ORDER

       Based on all of the files, records, and proceedings herein, the Court ADOPTS IN PART

the October 28, 2011 supplemental R&R [Docket No. 330] insofar as the R&R recommends the

denial of Rosales’s motion to suppress evidence of the results of the July 31, 2010 search of

Rosales by agents of the Transportation Security Administration. Accordingly, IT IS HEREBY

ORDERED THAT:

       1.      Rosales’s motion to suppress physical evidence [Docket No. 204] is DENIED IN

               PART and DENIED AS MOOT IN PART.

       2.      Insofar as Rosales seeks to suppress evidence of the results of the July 31, 2010

               search by agents of the Transportation Security Administration, his motion is

               DENIED.

       3.      Insofar as Rosales seeks to suppress evidence obtained as a result of the seizure of

               his cash by the Airport Police Department, his motion is DENIED AS MOOT.




 Dated: November 30 , 2011                         s/Patrick J. Schiltz
                                                   Patrick J. Schiltz
                                                   United States District Judge


       8
         As noted earlier, the TSA agent who initially found Rosales’s cash did not count it, but
only estimated that it was more than $5,000. As far as the Court can tell, it was not until after
the cash was seized that the exact amount was determined. The government’s knowledge of the
exact amount therefore appears to be the fruit of the seizure rather than of the earlier search. In
light of the government’s failure to defend the warrantless nature of the seizure, it does not
appear that the government will be able to introduce evidence concerning the exact amount of
the cash, but will instead be limited to relying on the TSA agent’s estimate.

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